      Case: 1:17-cv-08523 Document #: 36 Filed: 06/18/18 Page 1 of 2 PageID #:590



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

Augustyn Kasprzyk,                           )      Case No. 17-cv-08523
                                             )
              Plaintiff,                     )      Honorable Charles R. Norgle, Sr.
                                             )
vs.                                          )
                                             )
Axiom Financial LLC, formerly known as,      )
Axiom Financial Services, et al.,            )
                                             )
              Defendants.                    )



      U.S. BANK DEFENDANTS’ MOTION TO DISMISS AMENDED COMPLAINT1

        Defendants American Home Mortgage Servicing, Inc.; Homeward Residential Holdings,

Inc.; Ocwen Loan Servicing, LLC (incorrectly named separately as Ocwen Loan Servicing, LLC

and Ocwen Financial Corporation); U.S. Bank National Association, as Trustee for Accredited

Mortgage Loan Trust Asset-Backed Notes, Series 2007-1 (incorrectly named as U.S. Bank Trust

National Association, and incorrectly named separately as Accredited Mortgage Loan REIT

Trust); and, Citigroup, Inc., (collectively the “U.S. Bank Defendants”) through counsel Dykema

Gossett PLLC, move this Court for an Order dismissing Plaintiff’s Amended Complaint with

prejudice pursuant to Rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure

because the Complaint fails to state a plausible claim for relief and this Court lacks subject

matter jurisdiction pursuant to the Rooker-Feldman doctrine. In support of its motion, U.S.

Defendants rely upon the law and arguments set forth in the accompanying brief in support.

1
  The Court ordered Plaintiff to respond to pending motions to dismiss [DE 13, 18, 21] by June
4, 2018. Order, DE 33. On June 5, 2015, Plaintiff filed an Amended Complaint in lieu of filing
a response to the motions to dismiss. Amended Complaint, DE 35. Plaintiff’s Amended
Complaint was filed without leave of court (see, e.g., DE 33, 34, & 35) and is procedurally
improper under the Federal Rules of Civil Procedure. See Fed. R. Civ. P. 15(a)(1). To the extent
the Court accepts Plaintiff’s Amended Complaint, it should be dismissed with prejudice for the
reasons stated herein and in the accompanying brief in support.
    Case: 1:17-cv-08523 Document #: 36 Filed: 06/18/18 Page 2 of 2 PageID #:591



       WHEREFORE, U.S. Bank Defendants request that this Court grant their Motion and

enter an Order dismissing Plaintiff’s Amended Complaint with prejudice, and granting such

other relief in Defendants’ favor, and against Plaintiff, as is just and proper.

Dated: June 18, 2018                                  Respectfully submitted,

                                                      Defendants American Home Mortgage
                                                      Servicing, Inc.; Homeward Residential
                                                      Holdings, Inc.; Ocwen Loan Servicing, LLC
                                                      (incorrectly named separately as Ocwen
                                                      Loan Servicing, LLC and Ocwen Financial
                                                      Corporation); U.S. Bank National
                                                      Association, as Trustee for Accredited
                                                      Mortgage Loan Trust Asset-Backed Notes,
                                                      Series 2007-1 (incorrectly named as U.S.
                                                      Bank Trust National Association, and
                                                      incorrectly named separately as Accredited
                                                      Mortgage Loan REIT Trust); and,
                                                      Citigroup, Inc.

                                              By: /s/ Dawn N. Williams
                                                  One of Their Attorneys


Todd Gale (6229288)
tgale@dykema.com
DYKEMA GOSSETT PLLC
10 S. Wacker Drive, Suite 2300
Chicago, IL 60606
Phone: 312-627-2173
Fax: 866-457-8542

Dawn N. Williams (6308222)
dwilliams@dykema.com
DYKEMA GOSSETT PLLC
300 Ottawa Ave., N.W., Suite 700
Grand Rapids, MI 49503
Phone: 616-776-7518
Fax: 855-234-8873




                                                  2
